     Case 2:17-cr-00419-AKK-TMP Document 254 Filed 07/23/18 Page 1 of 1               FILED
                                                                              2018 Jul-23 AM 11:06
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )
                                          )       Criminal Case Number:
      vs.                                 )       2:17-cr-419-AKK-TMP-2
                                          )
STEVE MCKINNEY (002),                     )
                                          )
            Defendant.                    )

                                    ORDER

      Plaintiff United States of America’s Oral Motion to Dismiss Indictment as

to Steve McKinney is GRANTED. The indictment against defendant Steve

McKinney is dismissed with prejudice.



      Done the 23rd day of July, 2018.



                                      _______________________________
                                            ABDUL K. KALLON
                                      UNITED STATES DISTRICT JUDGE




                                    Page 1 of 1
